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                            No. 25-______


      United States Court of Appeals
          for the Federal Circuit
                IN RE MOTOROLA SOLUTIONS, INC.,

                              Petitioner.

             On Petition for a Writ of Mandamus to the
    Director of the United States Patent and Trademark Office,
Patent Trial and Appeal Board Nos. IPR2024-01205, IPR2024-01206,
 IPR2024-01207, IPR2024-01208, IPR2024-01284, IPR2024-01285,
                  IPR2024-01313 & IPR2024-01314

            PETITION FOR WRIT OF MANDAMUS

Tharan Gregory Lanier                  Matthew J. Silveira
JONES DAY                              JONES DAY
1755 Embarcadero Road                  555 California Street, 26th Floor
Palo Alto, CA 94303                    San Francisco, CA 94104
(650) 739-3941                         (415) 875-5715

John R. Boulé III                      John A. Marlott
JONES DAY                              JONES DAY
555 South Flower Street,               110 North Wacker Drive,
Fiftieth Floor                         Suite 4800
Los Angeles, CA 90071                  Chicago, IL 60606
(213) 243-2251                         (312) 269-4236

                                       Counsel for Petitioner Motorola
June 23, 2025                          Solutions, Inc.
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                    CERTIFICATE OF INTEREST

      Counsel for Petitioner Motorola Solutions, Inc. certifies the
following:

  1. Represented Entities (Fed. Cir. R. 47.4(a)(1)) – Provide the full
names of all entities represented by undersigned counsel in this case.

  Motorola Solutions, Inc.

  2. Real Party in Interest (Fed. Cir. R. 47.4(a)(2)) – Provide the full
names of all real parties in interest for the entities. Do not list the real
parties if they are the same as the entities.

  None/Not Applicable

   3. Parent Corporations and Stockholders (Fed. Cir. R.
47.4(a)(3)) – Provide the full names of all parent corporations for the
entities and all publicly held companies that own 10% or more stock in
the entities.

  None/Not Applicable

   4. Legal Representatives – List all law firms, partners, and
associates that (a) appeared for the entities in the originating court or
agency or (b) are expected to appear in this court for the entities. Do
not include those who have already entered an appearance in this court.
Fed. Cir. R. 47.4(a)(4).

  Jones Day: Joshua R. Nightingale, Hilda C. Galvan (no longer with
  firm), Christopher A. Buxton (no longer with firm)

   5. Related Cases – Other than the originating case(s) for this case,
are there related or prior cases that meet the criteria under Fed. Cir. R.
47.5(a)?

  Yes (separate Notice of Related Case Information filed)

   6. Organizational Victims and Bankruptcy Cases – Provide any
information required under Fed. R. App. P. 26.1(b) (organizational




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victims in criminal cases) and 26.1(c) (bankruptcy case debtors and
trustees). Fed. Cir. R. 47.4(a)(6).

  None/Not Applicable



Dated: June 23, 2025                        /s/ Matthew J. Silveira
                                            Matthew J. Silveira
                                            JONES DAY
                                            555 California Street, 26th Floor
                                            San Francisco, CA 94104
                                            (415) 875-5715




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                    TABLE OF ABBREVIATIONS

      The following abbreviations are used in this brief.

      Terms

   Abbreviation                                 Term
Acting Director’s        Memorandum from Coke Morgan Stewart,
Memo                     Acting USPTO Director, to PTAB, “Interim
                         Processes for PTAB Workload Management”
                         (March 26, 2025), Appx113-115
APA                      Administrative Procedure Act
APJ                      Administrative Patent Judge
Board or PTAB            Patent Trial and Appeal Board
Chief APJ’s Memo         Memorandum from Scott R. Boalick, Chief
                         APJ, to PTAB, “Guidance on USPTO’s
                         Recission of ‘Interim Procedure for
                         Discretionary Denials in AIA Post-Grant
                         Proceedings with Parallel District Court
                         Litigation’” (March 24, 2025), Appx110-112
IPR                      Inter partes review
June 2022 Memo           Memorandum from Katherine K. Vidal,
                         USPTO Director, to PTAB, “Interim Procedure
                         for Discretionary Denials in AIA Post-Grant
                         Proceedings with Parallel District Court
                         Litigation” (June 21, 2022), Appx99-107
Motorola                 Motorola Solutions, Inc.
Rescission               USPTO Notice, “USPTO Rescinds
                         Memorandum Addressing Discretionary Denial
                         Procedures” (February 28, 2025), Appx108-109
Stellar                  Stellar, LLC




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   Abbreviation                                   Term
USPTO                    United States Patent and Trademark Office

     Citations

   Abbreviation                                   Term
Appx___                  Appendix at page(s) ___


     All emphasis is added throughout, and all internal quotation

marks and citations omitted, unless otherwise indicated.




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                STATEMENT OF RELATED CASES

     No appeal in or from the same proceedings in the Patent Trial and

Appeal Board was previously before this or any other appellate court.

     The underlying IPR proceedings are related to Stellar, LLC v.

Motorola Solutions, Inc., et al., 4:23-cv-00750-SDJ (E.D. Tex.).       The

Stellar case has been stayed pending the Board’s ultimate resolution of

the IPR proceedings.      An order granting the writ and directing

reinstatement of the Board’s institution decisions will directly affect the

Stellar case to the extent that the stay will be maintained pending the

Board’s ultimate resolution of the IPR proceedings after final written

decisions.




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                           INTRODUCTION

     This petition challenges the USPTO’s rescission of binding rules

without notice and its Acting Director’s retroactive application of that

rule change to vacate the institution of IPRs, all in violation of the APA

and the United States Constitution’s due-process protections.

     On June 21, 2022, the USPTO Director issued a memo

establishing that the Board “will not discretionarily deny institution of

an IPR … in view of parallel district court litigation where a petitioner

stipulates not to pursue in a parallel district court proceeding the same

grounds as in the petition or any grounds that could have reasonably

been raised in the petition”—a so-called Sotera stipulation.

Appx105-106. The Director stated that this rule—which was phrased in

absolute terms (“will not”) and admitted of no exceptions—was “issued

under the Director’s authority to issue binding agency guidance.”

Appx101. While the Director acknowledged notice-and-comment

rulemaking might be warranted to issue regulations governing the

relationship of IPR proceedings to parallel litigation, Appx100, the

USPTO still has not adopted any such regulations. Instead, on

February 28, 2025, the USPTO posted a statement—without
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explanation or advance notice—that it “rescinded the June 21, 2022,

memorandum.” Appx108. The Rescission, and the Acting Director’s

retroactive application of that Rescission to instituted IPR proceedings

initiated by Motorola, violates both the APA and the Fifth Amendment’s

due-process clause.

     Motorola is an American innovator that, among other things,

designs, develops, and manufactures body-worn and in-car camera

systems used to protect the public and federal, state, and local law-

enforcement officers. Motorola, in July and August 2024, filed IPR

petitions to challenge eight patents asserted against those vital public-

safety products in the Eastern District of Texas. Aware that it had one

opportunity to pursue IPRs, Motorola challenged all 160 claims of the

eight patents in two sets of IPR petitions. And it presented Sotera

stipulations for each set, altering its litigation strategy. It undertook

this significant burden and expense knowing that, under the June 2022

Memo, the petitions would not be discretionarily denied based on the

parallel litigation. Indeed, the Board instituted IPRs on the first set of

petitions on February 13, 2025, citing the June 2022 Memo. The

district court promptly stayed the litigation and later vacated the trial




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date, citing both the IPR proceedings and the existence of multiple

pending motions, which prevented it from “even begin[ning] to consider

a trial date.” Appx163. On March 18, 2025, the Board instituted IPRs

on the second set. Yet—in March 28 and May 23, 2025 decisions—the

Acting Director vacated those institution decisions by retroactively

applying the Rescission of the June 2022 Memo.

     Both the Rescission and its retroactive application violate the

APA. After the Director adopted an absolute, “binding” rule restricting

the Board’s discretion to deny institution of IPR proceedings based on

parallel district-court litigation, the Acting Director could not later

simply rescind that rule without notice-and-comment rulemaking. And

in no event could the Acting Director apply the Rescission retroactively

and disregard petitioners’ reliance on the June 2022 Memo without

violating the APA’s prohibition on arbitrary and capricious actions.

Whether the Rescission is properly characterized as a binding,

substantive rule (that the USPTO was prohibited from adopting absent

notice-and-comment rulemaking) or mere guidance, the Rescission

could not be applied retroactively to petitioners like Motorola that

already filed IPR petitions in reliance on established rules.




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     Retroactively applying the Rescission also violated due process.

The Director restricted her own discretion when issuing the June 2022

Memo. That restriction vested Motorola with a legitimate entitlement

to have its filed IPR petitions considered on the merits upon presenting

a Sotera stipulation, without the potential for discretionary denial

based on parallel litigation. By summarily denying Motorola’s right to

that consideration, and then disregarding evidence and arguments post-

dating the Acting Director’s retroactive application of the Rescission,

the USPTO violated the due-process clause.

     Motorola has a clear and indisputable right to relief on multiple

bases. Motorola has no other avenue to obtain that relief, as institution

decisions are final and nonappealable. 35 U.S.C. §§ 314(d), 324(e). And

mandamus is appropriate given the nature of the interests at stake and

the importance of maintaining the integrity of the patent system by

ensuring that the USPTO operates within statutory and constitutional

constraints. Indeed, the USPTO has engaged in precisely the sort of

“shenanigans” that the Supreme Court has deemed worthy of review.

Cuozzo Speed Techs., LLC v. Lee, 579 U.S. 261, 275 (2016). This Court

should grant Motorola’s mandamus petition.




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                           RELIEF SOUGHT

     Motorola respectfully asks the Court to grant this petition for a

writ of mandamus and compel the USPTO to (1) vacate its Rescission of

the June 2022 Memo and (2) reinstate institution of Motorola’s petitions

in accordance with the “binding” rule that applied before the Rescission.

                         ISSUES PRESENTED

     1.    Whether the USPTO violated the APA by:

           a.     rescinding its binding rule prohibiting discretionary

                  denial of IPRs based on parallel litigation without

                  notice-and-comment rulemaking;

           b.     retroactively applying the Rescission; and

           c.     failing to consider reliance interests arising from the

                  June 2022 Memo.

     2.    Whether the USPTO violated the Fifth Amendment’s due-

process clause by retroactively applying the Rescission to vacate the

Board’s institution decisions, and refusing to consider facts and

arguments presented after the Rescission and vacatur.




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                             BACKGROUND

     A.    The USPTO’s Discretionary Denial Rules

     Consistent with Congress’s direction, the USPTO has adopted

many regulations related to the IPR process. See 37 C.F.R.

§ 42.100-42.123. The USPTO has not, however, adopted any

regulations governing the relationship between IPR institution and

parallel litigation. That inaction is not for lack of initiative. Rather,

the USPTO initiated notice-and-comment rulemaking on this subject in

2023, consistent with the Director’s intent to do so as stated in the June

2022 Memo, and in 2025 stated its intention to renew that effort. See

Appx100; 88 Fed. Reg. 24,503 (Apr. 21, 2023); 89 Fed. Reg. 28,693 (Apr.

19, 2024); Theresa Schliep, Patent Office Plans Rulemaking For New

PTAB Denial Process, Law360, https://www.law360.com/articles/

2324147 (Apr. 17, 2025).

     However, in the June 2022 Memo, the Director exercised her

authority to restrict the Board’s discretion to deny IPR institution based

on parallel litigation, building from several precedential decisions

governing the evaluation of IPR petitions in view of parallel district-

court litigation. Three such decisions are central to the June 2022

Memo.


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     First, in NHK Spring Co. v. Intri-Plex Technologies, Inc., the

Board declared that it would treat the “advanced state” of a district

court proceeding as a “factor that weighs in favor of denying” a timely

IPR petition as a matter of discretion under § 314(a). IPR2018-00752,

Paper 8, 2018 WL 4373643, at *7 (P.T.A.B. Sept. 12, 2018). Second, in

Apple Inc. v. Fintiv, Inc., the Board stated that it could deny institution

of an otherwise meritorious petition based solely on the progress of a

related district court action, setting out six factors to guide the Board’s

exercise of its discretion. IPR2020-00019, Paper 11, 2020 WL 2126495,

at *2 (P.T.A.B. Mar. 20, 2020). Third, in Sotera Wireless, Inc. v. Masimo

Corp., the Board held that a petitioner’s stipulation that it would not

pursue in the district court litigation “the specific grounds in the

instituted inter partes review petition, or on any other ground that was

raised or could have been reasonably raised in an IPR (i.e., any ground

that could be raised under §§ 102 or 103 on the basis of prior art

patents or printed publications) … mitigates any concerns of duplicative

efforts between the district court and the Board, as well as concerns of

potentially conflicting decisions.” IPR2020-01019, Paper 12, 2020 WL

7049373, at *7 (P.T.A.B. Dec. 1, 2020).




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     After receiving “822 comments from a wide range of stakeholders”

following a request for comments on the Board’s approach to exercising

its discretion to institute, the Director issued the June 2022 Memo.

Appx100. Titled “Interim Procedure for Discretionary Denials in AIA

Post-Grant Proceedings with Parallel District Court Litigation,”

Appx99, and adopted under the Director’s authority to issue “binding

agency guidance,” the memo restricts the Board’s exercise of discretion

when accounting for the relationship between IPRs and parallel

litigation. Appx101 (citing 35 U.S.C. § 3(a)(2)(A)).

     While the Director noted that the USPTO planned notice-and-

comment rulemaking, the June 2022 Memo established rules that

would govern “[i]n the meantime.” Appx100. Pertinent here, the

Director established an absolute rule that “the PTAB will not

discretionarily deny institution of an IPR … in view of parallel district

court litigation where a petitioner stipulates not to pursue in a parallel

district court proceeding the same grounds as in the petition or any

grounds that could have reasonably been raised in the petition.”

Appx105. And the Director provided reasons for this rule: it “avoids

inconsistent outcomes between the PTAB and the district court and




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allows the PTAB to review grounds that the parallel district court

litigation will not resolve.” Appx105-106.

     B.    The Board’s Institution Decisions

     On August 21, 2023, Stellar sued Motorola in the Eastern District

of Texas for alleged infringement of eight patents. All eight patents are

from the same family and Stellar has asserted them against body-worn

and in-vehicle camera systems, commonly used by law enforcement.

     Stellar asserted 14 of 160 claims from the eight patents. However,

because the suit triggered the one-year deadline for Motorola to file IPR

petitions, see 35 U.S.C. § 315(b), and Stellar could later assert in

litigation any claims omitted from the petitions, see Kroy IP Holdings,

LLC v. Groupon, Inc., 127 F.4th 1376, 1381 (Fed. Cir. 2025), Motorola

prepared challenges to all 160 claims. Motorola filed its IPR petitions

on July 22, August 9, and August 15, 2024. In compliance with the

June 2022 Memo, Motorola expressly notified the Board of its

presentment of Sotera stipulations. Appx116-118; Appx120-121.

     Meanwhile, the litigation proceeded before Judge Sean Jordan.

Judge Jordan follows the Eastern District of Texas’s “universal

practice” to postpone ruling on or deny stay requests when the Board




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has not yet acted on IPR petitions. AR Design Innovations LLC v.

Ashley Furniture Indus., Inc., 2021 WL 6496714, at *3 (E.D. Tex. Jan.

11, 2021) (Jordan, J.). Therefore, rather than filing a “pointless” stay

motion, CyWee Grp. Ltd. v. Samsung Elecs. Co., 2019 WL 11023976, at

*5 (E.D. Tex. Feb. 14, 2019), Motorola notified the court that it intended

to seek a stay if the Board instituted IPR proceedings. Appx198-200.

     On February 13, 2025, the Board instituted IPR on all patents on

all claims in the first set of four petitions. Consistent with the June

2022 Memo, which it cited, the Board recognized Motorola’s

presentation of a Sotera stipulation and emphasized that Motorola’s

IPR “contentions have merit.” E.g., Appx68-69, Appx71.1




     1 The Board’s discretionary analysis was substantially identical in

each of the four petitions in the first set. See Appx67-71; IPR2024-
01206, Paper 11, 2025 WL 491664, at *1-3 (P.T.A.B. Feb. 13, 2025);
IPR2024-01207, Paper 11, 2025 WL 491897, at *1-3 (P.T.A.B. Feb. 13,
2025); IPR2024-01208, Paper 11, 2025 WL 490697, at *1-3 (P.T.A.B.
Feb. 13, 2025). The same is true of its analysis of the four petitions in
the second set. See Appx27-33; IPR2024-01285, Paper 12, 2025 WL
854643, at *2-5 (P.T.A.B. Mar. 18, 2025); IPR2024-01313, Paper 12,
2025 WL 856701, at *1-3 (P.T.A.B. Mar. 18, 2025); IPR2024-01314,
Paper 12, 2025 WL 855944, at *2-3 (P.T.A.B. Mar. 18, 2025). Motorola
includes a representative institution decision from each set in the
appendix, Appx21-59; Appx60-98, and provides cross-references for the
remainder here.



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     Based on the first set of institution decisions, the district court

temporarily stayed the parallel litigation pending the Board’s decision

on the second set of IPR petitions. Appx203. On February 27, Stellar

requested Director Review of the Board’s institution of IPRs on the first

set of petitions. On March 18, the Board instituted IPRs on all patents

on all claims in the second set, see, e.g., Appx33, Appx58 (finding

Motorola had “made a strong showing” on the merits “that the prior art

references cited in the Petition teach or suggest all limitations of at

least one challenged claim”), and Stellar subsequently sought Director

Review of those institution decisions.

     C.    The USPTO’s Rescission of Its Discretionary Denial
           Rules

     On February 28, 2025, in the period between the institution of the

two sets of IPRs, and without any advance notice, the USPTO posted a

terse statement on its website that it “rescinded the June 21, 2022,

memorandum.” Appx108. In contrast to the June 2022 Memo, the

Rescission provided no explanation for the change and simply referred

parties to guidance in effect before the June 2022 Memo. Appx108.

     On March 24, the Chief APJ issued a memo stating for the first

time that the rescission would retroactively change the rules applicable



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to petitions filed before the rescission, including in “any case in which

the Board has not issued an institution decision, or where a request for

rehearing or Director Review of an institution decision was filed and

remains pending.” Appx111. And, contrary to the June 2022 Memo’s

“binding agency guidance,” the Chief APJ’s Memo stated that “a timely-

filed Sotera stipulation” would now be “highly relevant, but will not be

dispositive by itself. Instead, the Board will consider such a stipulation

as part of its holistic analysis under Fintiv.” Appx111-112.

     On March 26, the Acting Director issued a memo with Interim

Processes for how “the Director will exercise her discretion on

institution of AIA proceedings” prospectively, i.e., “where the deadline

for the patent owner to file a preliminary response has not yet passed.”

Appx113, Appx115. The Acting Director’s Memo neither references nor

explains the Rescission.

     D.    The Acting Director’s Retroactive Application of the
           Rescission to Vacate the Institution Decisions

     On March 28, the Acting Director vacated the Board’s institution

decisions for the first set of Motorola IPR petitions based on what she

described as her application of “the Fintiv factors as a whole.” Appx19.

The Acting Director did not treat Motorola’s Sotera stipulation as



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dispositive, as was required when the petitions were filed and the Board

instituted these IPRs. Contrary to the June 2022 Memo, the Acting

Director faulted the Board for giving “too much weight to Petitioner’s

Sotera stipulation.” Appx17. Yet, before rescission, this precise

stipulation was “dispositive by itself,” Appx112, because the USPTO’s

rules provided that the stipulation precluded discretionary denial based

on parallel litigation.

      On April 28, Motorola requested rehearing of the Acting Director’s

decision, arguing that applying the rescission to vacate the Board’s

institution decisions raised APA and due process concerns.

Appx147-152. Motorola also emphasized that the Acting Director’s

decision cannot be squared with the Fintiv factors because the district

court had stayed the case, vacated the trial date, and stated that

“neither the parties nor the Court can even begin to consider a trial

date” until multiple pending motions are decided. Appx153 (quoting

Appx163).

      Motorola also offered to present an expanded Sotera stipulation,

something it had no reason to believe would have been material before

the Rescission of the June 2022 Memo that made its Sotera stipulation




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dispositive. Appx157. In addition to stipulating not to pursue in court

published prior art invalidity grounds raised or that could have

reasonably been raised in its IPR petitions, consistent with Sotera,

Motorola would stipulate to not pursue in court any grounds of prior-art

invalidity. Appx165. That expanded stipulation has a significant effect

given this Court’s precedent: “IPR estoppel applies only to a petitioner’s

assertions in district court that the claimed invention is invalid under

35 U.S.C. §§ 102 or 103 because it was patented or described in a

printed publication (or would have been obvious only on the basis of

prior art patents or printed publications).” Ingenico Inc. v. IOENGINE,

LLC, 136 F.4th 1354, 1366 (Fed. Cir. 2025). And it squarely addressed

the concern the Acting Director first raised in her post-rescission

Director Review Decision that a standard Sotera stipulation created the

potential for duplicative litigation in separate forums when an IPR

petitioner in parallel litigation relies on system art combined with prior

art presented in the IPR. See Appx18-19.

     On May 23, the Acting Director issued decisions on both

(1) Stellar’s request for Director Review of the decisions instituting IPR

on Motorola’s second set of petitions (Appx8-15); and (2) Motorola’s




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request for rehearing of the Director Review Decision vacating

institution of the first set of petitions (Appx1-7).

      On Stellar’s request for Director Review, the Acting Director

vacated the decisions instituting IPR. She rejected Motorola’s

arguments that retroactively applying the Rescission raised APA and

due-process concerns, reasoning that the Director Review request

meant there was “no final decision on institution” and the parties “had

the opportunity to present, and [Motorola] did present, argument in

view of the rescission,” namely, in Motorola’s five-page opposition to

that request (five pages being the maximum allotted for such

oppositions). Appx12. The Acting Director sua sponte supplemented

the record on the second set of petitions to acknowledge that the district

court had stayed the parallel litigation pending the “ultimate

resolution” of the IPR proceedings. Appx13. However, she did not

acknowledge that the court had also (a) vacated the trial date, and

(b) stayed the parallel litigation for the additional reason that the many

motions pending in the litigation prevented the court from “even

begin[ning] to consider a trial date.” Appx161, Appx163. According to

the Acting Director, “the efficiency and integrity of the system are best




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served by denying institution in these cases for the same reasons as set

forth in” her Director Review Decision in the first set of IPR petitions.

Appx13.

     The Acting Director took a different tack on Motorola’s 15-page

request for rehearing of the Director Review Decision in the first set of

IPR petitions. There, the Acting Director refused to consider Motorola’s

fulsome retroactivity arguments, even though she had summarily

rejected those arguments in the second set of petitions, faulting

Motorola for focusing its five-page oppositions to Stellar’s first set of

Director Review requests on why the institution decisions were correct

even in a post-rescission world, rather than arguing that the Acting

Director would violate the APA and due process if she were to vacate

the Board’s institution decisions. See Appx5. And she held that the

district court’s “new stay order” and Motorola’s expanded Sotera

stipulation were not “proper” bases for rehearing even though those

facts post-dated her vacatur of the first set of IPR petitions. Appx5.

Thus, despite retroactively applying the Rescission to vacate the

institution of eight meritorious IPR petitions, the Acting Director

refused to consider facts and arguments that did not materialize until




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after she issued her decisions vacating those IPRs based on the

Rescission.

                         STANDARD OF REVIEW

      A writ of mandamus under 28 U.S.C. § 1651(a) is one of the most

important procedural protections available to the judiciary. Cheney v.

U.S. Dist. Ct. for D.C., 542 U.S. 367, 380 (2004). It ensures, among

other things, that the executive branch complies with constitutional

limitations on its power. In re Palo Alto Networks, Inc., 44 F.4th 1369,

1374 (Fed. Cir. 2022). To establish entitlement to mandamus relief, a

petitioner must demonstrate that (1) it has “no other adequate means to

attain the relief [it] desires”; (2) its right to relief is “clear and

indisputable”; and (3) “the writ is appropriate under the circumstances.”

Cheney, 542 U.S. at 380-81. These requirements, while “demanding,

are not insuperable.” Id. at 381.

              REASONS WHY THE WRIT SHOULD ISSUE

I.    Motorola Has No Other Adequate Means to Obtain Relief
      from the Agency’s Retroactive Rule Change.

      The statute governing IPR institution decisions bars appeal. 35

U.S.C. § 314(d). “Given that there is no adequate remedy by way of

direct appeal of decisions denying institution,” the Court has




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“conclude[d] that judicial review is available in extraordinary

circumstances by petition for mandamus in this court under 28 U.S.C.

§§ 1295(a)(4), 1651.” Palo Alto Networks, 44 F.4th at 1374 (cleaned up).

Specifically, mandamus petitions filed “in response to action by the

agency relating to the non-institution of inter partes review” are proper

when they raise “constitutional issues, issues involving questions

outside the scope of section 314(d), and actions by the agency beyond its

statutory limits.” In re Power Integrations, Inc., 899 F.3d 1316, 1321

(Fed. Cir. 2018). Motorola’s petition raises all three bases for

mandamus.

     First, Motorola raises a “constitutional challenge” under the due-

process clause. Palo Alto Networks, 44 F.4th at 1374. The Supreme

Court has expressly recognized “a due process problem” as the type of

error justifying review. Cuozzo, 579 U.S. at 275; see also Celgene Corp. v.

Peter, 931 F.3d 1342, 1357 n.11 (Fed. Cir. 2019) (recognizing that

discretionary denial of institution implicating constitutional retroactivity

argument “would be unreviewable but for the possibility of mandamus”).

     Second, Motorola’s APA and due-process challenges present

questions outside the scope of § 314(d). Motorola does not “challenge




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the content of the Director’s institution instructions.” Apple Inc. v.

Vidal, 63 F.4th 1, 11 (Fed. Cir. 2023). Rather, Motorola challenges the

process by which the USPTO (1) rescinded “binding” rules; and

(2) retroactively applied that Rescission to instituted IPR proceedings.

      Third, in Cuozzo, the Supreme Court characterized actions

“outside [the USPTO’s] statutory limits” as “shenanigans” that “may be

properly reviewable … under the Administrative Procedure Act, which

enables reviewing courts to ‘set aside agency action’ that is ‘contrary to

constitutional right,’ ‘in excess of statutory jurisdiction,’ or ‘arbitrary

[and] capricious.’” 579 U.S. at 275. The USPTO’s actions here are not

only contrary to constitutional right and in excess of statutory

authority, but also are arbitrary and capricious.

      Moreover, an independent APA lawsuit untethered from the

institution decision would not allow Motorola to obtain meaningful

relief. Motorola challenges both the Rescission and its retroactive

application to instituted IPR petitions. Both actions were procedurally

improper. Thus, Motorola is seeking an order compelling the USPTO to

vacate both the Rescission and the Acting Director’s orders that




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retroactively applied the Rescission to Motorola. Challenging the

Rescission alone via an APA action would not remedy that harm.

II.   Motorola’s Right to Relief from the USPTO’s Rescission of
      the June 2022 Memo Is Clear and Indisputable.

      The USPTO clearly and indisputably violated multiple APA

protections and the constitutional right to procedural due process. Any

one of those violations justifies mandamus. Together, they compel the

conclusion that mandamus relief is warranted.

      A.    The USPTO violated the APA.

      Congress directed the USPTO to “prescribe regulations … setting

forth the standards for the showing of sufficient grounds to institute a

review under section 314(a)” and “governing … the relationship of [inter

partes] review to other proceedings.” 35 U.S.C. § 316(a)(2), (4). The

USPTO has not completed rulemaking on these subjects despite

starting the process. See, e.g., 88 Fed. Reg. 24,503 (Apr. 21, 2023); 89

Fed. Reg. 28,693 (Apr. 19, 2024). The Director did, however, issue the

June 2022 Memo as “binding agency guidance” on the “application of

Fintiv to discretionary institution where there is parallel litigation.”

Appx100-101. Regardless of how Fintiv, the June 2022 Memo, and the

Rescission are characterized, the APA does not permit the USPTO to




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rescind “binding” rules without notice and comment, and then to

retroactively apply the Rescission to instituted IPR proceedings without

considering serious reliance interests.

           1.    The USPTO failed to engage in the notice-and-
                 comment rulemaking required to change its
                 existing discretionary denial rules.

     The APA requires all rules to be adopted through notice-and-

comment procedures, save for “interpretative rules, general statements

of policy, or rules of agency organization, procedure, or practice.”

5 U.S.C. § 553(b). Regardless of how the agency characterizes it, an

agency pronouncement is a “binding,” substantive rule if it “effect[s] a

change in existing law or policy or … affect[s] individual rights and

obligations.” Coal. for Common Sense in Gov’t Procurement v. Sec’y of

Veterans Affs., 464 F.3d 1306, 1317 (Fed. Cir. 2006). The agency’s

Rescission did both, and thus required notice-and-comment rulemaking.

     First, the Rescission effects a change in existing law or policy.

Pre-rescission, the June 2022 Memo—which the Director adopted after

receiving more than 800 comments from a wide range of stakeholders

and which the Director herself described as “binding”—controlled.

Appx100-101. It created an absolute rule: presenting a Sotera




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stipulation was “dispositive by itself” of the Board’s ability to

discretionarily deny institution based on parallel district-court

litigation. Appx111-112. Post-rescission, the opposite is true: a Sotera

stipulation is deemed merely “relevant.” Appx112; see CropLife Am. v.

EPA, 329 F.3d 876, 883 (D.C. Cir. 2003) (rejecting agency’s

characterization of directive as mere statement of policy because “[t]he

directive clearly establishes a substantive rule declaring that third-

party human studies are now deemed immaterial in EPA regulatory

decisionmaking”). Indeed, the Board itself has already acknowledged

the Rescission as carrying the force of a “change of binding guidance.”

E.g., HP Inc. v. Universal Connectivity Techs., Inc., IPR2024-01428,

Paper 12, 2025 WL 1040187, at *1 (P.T.A.B. Apr. 8, 2025).

     Second, the Rescission affects individual rights and obligations.

While the Board’s acknowledgment that the Rescission “change[d]” a

“binding” rule should end the matter, id., the Supreme Court has

recognized that an effect on individual rights and obligations “is an

important touchstone for distinguishing those rules that may be

‘binding’ or have the ‘force of law,’” Chrysler Corp. v. Brown, 441 U.S.

281, 302 (1979). The Rescission has that effect because it “grant[s]




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rights, impose[s] obligations, or produce[s] other significant effects on

private interests.” Batterton v. Marshall, 648 F.2d 694, 701-702 (D.C.

Cir. 1980). Indeed, this Court has recognized that binding rules

“affect[ing] the substantive … standards by which [the USPTO]

examines a party’s application” require notice and comment because

they have the requisite effect on rights and interests. In re Chestek

PLLC, 92 F.4th 1105, 1109 (Fed. Cir. 2024).

     The Rescission plainly “alter[s] the substantive standards by

which the USPTO evaluates” an IPR petition. Id. at 1110. Before the

Rescission, petitioners like Motorola had a right to have their IPR

petitions evaluated on the merits notwithstanding parallel litigation so

long as they presented a Sotera stipulation. And the Board was bound

by a Sotera stipulation, which prohibited it from denying institution

based on parallel litigation. That is no longer the case. “This is

sufficient to render the [Rescission] a legislative rule.” Gen. Elec. Co. v.

EPA, 290 F.3d 377, 385 (D.C. Cir. 2002) (vacating EPA guidance

document because it was promulgated without following the APA’s

rulemaking requirements); see also Pickus v. U.S. Bd. of Parole, 507

F.2d 1107, 1114 (D.C. Cir. 1974) (rejecting argument that notice-and-




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comment exemption for “rules of agency procedure and practice” applied

because the regulations were “likely to produce parole decisions

different from those which alternatives would be likely to produce”).

Motorola’s private interests in the IPRs—on which it spent hundreds of

thousands of dollars in institution fees alone to pursue, plus expert and

legal fees—have not just been significantly affected by the rescission of

the June 2022 Memo’s “binding” rules; those interests have been

extinguished by the decision to deny institution due to the Rescission.

     This Court has already recognized that a challenge to the

Director’s failure to adopt IPR “institution instructions through notice-

and-comment rulemaking procedures … may be pressed under the

APA.” Apple, 63 F.4th at 14. In the Apple district court’s view, the

“NHK/Fintiv standard” that the Director adopted by designating Board

decisions as precedential “is a general statement of policy, rather than a

substantive or legislative rule,” and thus “the Director was not required

to conduct notice-and-comment rule making …, and the lack of such

rule making does not render the NHK-Fintiv standard unlawful under

the APA, 5 U.S.C. § 706(2)(D).” Apple Inc. v. Vidal, 2024 WL 1382465,

at *13 (N.D. Cal. Mar. 31, 2024). An appeal of that ruling is now fully




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briefed. See Apple Inc. v. Stewart, No. 24-1864 (Fed. Cir.). But the

Court need not decide Apple to find a clear and indisputable right to

relief here. Motorola challenges not the adoption of rules through the

designation of Board decisions as precedent—the issue in Apple—but

rather the Rescission of an absolute rule the Director herself deemed

“binding.” Gen. Elec. Co., 290 F.3d at 383 (“[A]n agency pronouncement

will be considered binding as a practical matter if it either appears on

its face to be binding, or is applied by the agency in a way that indicates

it is binding.”).

      The Rescission is invalid because it was not adopted through

notice-and-comment rulemaking. See 35 U.S.C. § 316(a); 5 U.S.C.

§§ 553, 706(2)(D). That is reason enough to vacate the Rescission and

the Acting Director’s vacatur of the Board decisions instituting IPRs on

Motorola’s petitions based on the Rescission.

            2.      The USPTO’s retroactive application of the
                    Rescission was impermissible.

      Even if the Rescission were properly characterized as a

“statement[] of policy,” 5 U.S.C. § 552(a)(2)(B)—and not a substantive

rule improperly adopted without notice and comment—the Acting

Director’s action cannot withstand APA scrutiny. Rather, retroactively



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applying the Rescission to Motorola is “arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law,” and therefore

must be “h[e]ld unlawful and set aside.” 5 U.S.C. § 706(2)(A).

     “[G]eneral statements of policy … advise the public prospectively

of the manner in which the agency proposes to exercise a discretionary

power.” Lincoln v. Vigil, 508 U.S. 182, 197 (1993) (cleaned up); see also

5 U.S.C. § 552(a)(2)(ii) (a “statement of policy … may be relied on … by

an agency against a party … only if … the party has actual and timely

notice of the terms thereof”). Thus, the Rescission cannot be applied

retroactively, as it was here, when the Acting Director used the

Rescission to vacate past institution decisions that accorded with the

June 2022 Memo’s directions. See Bowen v. Georgetown Univ. Hosp.,

488 U.S. 204, 220 (1988) (Scalia, J., concurring) (explaining that, when

the Secretary of Health and Human Services adopted a new rule that

“prescribed” a formula for Medicare “costs reimbursable while the prior

rule was in effect, she changed the law retroactively” and could not

apply the formula to recoup money Medicare service providers already

paid). Unlike policy statements, only substantive rules may ever be

applied retroactively, and even they “will not be construed to have




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retroactive effect unless their language requires this result.” Id. at 208

(“Retroactivity is not favored in the law.”); see also Kirwa v. U.S. Dep’t

of Def. (Kirwa I), 285 F. Supp. 3d 21, 41 (D.D.C. 2017) (a “new rule” that

“effects a substantive change from the agency’s prior regulation or

practice” “is impermissibly retroactive”).

     Had the Rescission been adopted through notice-and-comment

rulemaking, it still could not be given retroactive effect. To start,

“Congress did not expressly grant the PTO” “the power to promulgate

retroactive rules.” Tafas v. Dudas, 511 F. Supp. 2d 652, 666 (E.D. Va.

2007). And the Rescission itself provides no indication it should be

applied retroactively. It never mentions any retroactive effect. Indeed,

it offers no guidance whatsoever about why the June 2022 Memo was

rescinded, so nothing of import can even be inferred from the

Rescission, much less anything about retroactive rescission.

     Moreover, while the post hoc guidance provided in the Chief APJ’s

Memo states that the Rescission will be applied retroactively, that

memo does not explain why applying the Rescission to pending

petitions—much less to IPR proceedings that had already been

instituted by the Board—was appropriate, let alone required by the




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Rescission’s language. Meanwhile, the Acting Director’s Memo

expressly addresses how she will exercise her discretion going forward.

Regardless of how the USPTO may characterize the Rescission, the

Acting Director’s retroactive application of the Rescission to Motorola

was “not in accordance with law” under § 706(2).

     To the extent the Acting Director were to argue that the June

2022 Memo bound only the Board and not the Director herself, the

Patent Act provides otherwise. The Director is part of the Board. See

35 U.S.C. § 6(a). As the Acting Director’s Memo explaining how she

“will exercise her discretion” going forward recognizes, establishing

rules for the exercise of the Board’s discretion properly restricts the

Director’s own discretion under 35 U.S.C. § 314(d). Appx113. Indeed,

the Acting Director’s Memo is intended to “promote consistent

application of discretionary considerations in the institution of AIA

proceedings,” Appx115, which prevents the arbitrary and capricious

exercise of discretion. The same was true of the June 2022 Memo.

While the Director “retain[ed] the right to deny institution for other

reasons,” Appx107, that did not give her the right to deny institution

based on the existence of parallel litigation once a petitioner presented




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a Sotera stipulation, as Motorola did here. Rescission of that “binding

agency guidance” cannot be applied retroactively without violating the

APA. See Kirwa I, 285 F. Supp. 3d at 41 (applying 5 U.S.C. § 706(2) to

hold that if a “new rule ‘effects a substantive change from the agency’s

prior regulation or practice,’ then it is impermissibly retroactive”

(quoting Ne. Hosp. Corp. v. Sebelius, 657 F.3d 1, 14 (D.C. Cir. 2011))).

           3.    The USPTO’s change in position was unlawful
                 regardless of its retroactive effect.

     The Acting Director’s application of the Rescission to Motorola

was unlawful for still another reason—she failed to consider serious

reliance interests under the change-in-position doctrine. And that

failure renders the Acting Director’s action arbitrary and capricious

regardless of whether she could retroactively apply the Rescission.

     Under the change-in-position doctrine, agencies may not change

their existing policies unless “they provide a reasoned explanation for

the change, display awareness that they are changing position, and

consider serious reliance interests.” FDA v. Wages & White Lion Invs.,

L.L.C., 145 S. Ct. 898, 917 (2025) (cleaned up). Because there is no

dispute that the “agency changed existing policy,” the sole question

presented by the doctrine here is: “Did the agency display awareness



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that it is changing position and offer good reasons for the new policy,”

while being “cognizant that longstanding policies may have engendered

serious reliance interests that must be taken into account”? Id. at 918

(cleaned up).

     The change-in-position doctrine applies “to an agency’s divergence

from a position articulated in nonbinding guidance documents,”

including in situations “when an agency altered a position first stated in

a policy statement,” where “the policy statement instituted ‘a

standardized review process’ that ‘effectively’ resembled adjudication.”

Id. at 918 n.5 (quoting Dep’t of Homeland Sec. v. Regents of Univ. of

Cal., 591 U.S. 1, 18 (2020)). Even if the Court were to view the June

2022 Memo as “nonbinding”—contrary to the Director’s own

characterization—the June 2022 Memo provided (in unqualified terms)

that “the PTAB will not discretionarily deny institution of an IPR … in

view of parallel district court litigation where a petitioner” presents a

Sotera stipulation. Appx105-106. The USPTO then rescinded that rule

after the Board had instituted IPR on the first set of Motorola’s

petitions. There could be no clearer indication of a change in position.




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See HP, 2025 WL 1040187, at *1 (Board describing rescission as a

“change of binding guidance”).

     To be sure, the USPTO acknowledged it was changing policy—

after all, it “rescinded” the June 2022 Memo. Appx108. And, a month

later, the Chief APJ’s Memo offered “additional guidance” regarding the

change. Appx110. But the Chief APJ’s Memo simply explained the

effect of the Rescission, including that it would apply “to any case in

which the Board has not issued an institution decision, or where a

request for rehearing or Director Review of an institution decision was

filed and remains pending,” and that Sotera stipulations would no

longer be “dispositive.” Appx111-112. That memo did not offer any

reasons for the change, much less reasons for applying the new

guidance to petitions filed and IPRs instituted before the Rescission.

     In any event, offering reasons for the new policy still would not

have been enough. “When an agency changes course, as [the USPTO]

did here, it must be cognizant that longstanding policies may have

engendered serious reliance interests that must be taken into account.”

Regents, 591 U.S. at 30-31 (cleaned up). The June 2022 Memo did not

just lead Motorola and other IPR petitioners “to believe” that the




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presentation of a Sotera stipulation would preclude a discretionary

denial based on parallel litigation. Wages & White Lion, 145 S. Ct. at

927. It expressly and unequivocally provided that “the PTAB will not

deny institution of an IPR … under Fintiv … where a petitioner”

presents a Sotera stipulation. Appx107. Moreover, the June 2022

Memo stated that the USPTO planned to engage in notice-and-comment

rulemaking to address parallel litigation, with the June 2022 Memo’s

rules controlling “[i]n the meantime.” Appx100.

     Neither the Rescission itself nor the Chief APJ’s Memo reflects

any consideration of the reliance interests engendered by the June 2022

Memo. And the Acting Director’s March 26, 2025 memo simply

explains how the Director “will exercise her discretion” prospectively.

Appx113. The Rescission cannot reasonably be applied to parties that

prepared and filed petitions at considerable expense, presented Sotera

stipulations, and altered their litigation strategies in accordance with

those stipulations, all in reliance on the June 2022 Memo and before the

Rescission. See Am. Bar Ass’n v. U.S. Dep’t of Educ., 370 F. Supp. 3d 1,

33 (D.D.C. 2019) (granting summary judgment for plaintiffs claiming




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that application of changed standards to deny relief was arbitrary and

capricious under 5 U.S.C. § 706(2)).

     B.    The USPTO’s retroactive application of the Rescission
           also violates due process.

     The APA is not the only bar to retroactive application of the

Rescission: “‘constitutional protections sounding in due process and

equal protection, as embodied in our longstanding traditions and

precedents addressing retroactivity in the law’” may also “constrain

retroactive application.” Kirwa I, 285 F. Supp. 3d at 41 (quoting De Niz

Robles v. Lynch, 803 F.3d 1165, 1171–72 (10th Cir. 2015) (Gorsuch, J.)).

Here, applying Rescission of the June 2022 Memo retroactively violates

Motorola’s due-process rights.

     The June 2022 Memo prohibited the Board from discretionarily

denying review based on the existence of parallel litigation so long as

the petitioner presented a Sotera stipulation. That “binding agency

guidance” did not optionally permit consideration of a Sotera

stipulation; it provided in absolute terms that “the PTAB will not deny

institution of an IPR … under Fintiv … where a petitioner stipulates

not to pursue in a parallel district court proceeding the same grounds as

in the petition or any grounds that could have reasonably been raised in



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the petition.” Appx107. As the USPTO recognized after rescinding the

June 2022 Memo, a Sotera stipulation had been “dispositive by itself”

pre-rescission. Appx111-112.

     The June 2022 Memo thus “restrict[ed] the exercise of official

discretion.” Tarpeh-Doe v. United States, 904 F.2d 719, 722 (D.C. Cir.

1990). That restriction gave Motorola “a legitimate entitlement” to

consideration of its petitions on the merits without risking discretionary

denial based on parallel district court proceedings. Id. Put otherwise,

the “explicitly mandatory language” adopted by the Director in the June

2022 Memo created a constitutionally protected interest. Id. at 723;

accord Perry v. Sindermann, 408 U.S. 593, 601 (1972) (“A person’s

interest in a benefit is a ‘property’ interest for due process purposes if

there are such rules or mutually explicit understandings that support

his claim of entitlement to the benefit.”); Furlong v. Shalala, 156 F.3d

384, 395 (2d Cir. 1998) (“[P]roperty interests may be established

through such diverse sources as unwritten common law and informal

institutional policies and practices.”).

     The Rescission “as applied to” Motorola “summarily denie[d]”

Motorola the right to consideration of its IPR petitions on the merits,




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without the possibility of discretionary denial based on parallel litigation.

Kirwa v. U.S. Dep’t of Def. (Kirwa II), 285 F. Supp. 3d 257, 274 (D.D.C.

2018). And that was contrary to the June 2022 Memo that governed, and

on which Motorola reasonably relied, when it filed the petitions and the

Board instituted the first set of IPRs. This denial of Motorola’s rights

“implicate[s] due-process concerns.” Id.; see also Cemex Inc. v. Dep’t of

the Interior, 560 F. Supp. 3d 268, 281 (D.D.C. 2021) (“When an agency’s

prior policy engendered serious reliance interests, due process

considerations of fair notice and fundamental fairness demand a

reasonable explanation for the agency’s change in position.” (cleaned up)).

     Moreover, because the June 2022 Memo restricted the Director’s

discretion, too—consistent with the Acting Director’s later recognition

that the Director’s own guidance controls how she “will exercise her

discretion,” Appx113—“all events necessary to establish” Motorola’s

rights had occurred before the Acting Director ruled on Stellar’s request

for Director Review, thereby precluding the retroactive application of

the Rescission. Covey v. Hollydale Mobilehome Ests., 116 F.3d 830, 837-

38 (9th Cir. 1997). By applying the Rescission retroactively to deny




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institution, the Acting Director clearly and indisputably violated

Motorola’s due-process rights.

     Finally, the Acting Director’s refusal to consider the full context of

the district court’s stay order and vacatur of the trial date, or Motorola’s

proffering of an expanded Sotera stipulation after the Acting Director

first disapproved of a standard Sotera stipulation post-rescission,

underscores the extent of the due-process violation. “Elementary

considerations of fairness dictate that individuals should have an

opportunity to know what the law is and to conform their conduct

accordingly.” Landgraf v. USI Film Prods., 511 U.S. 244, 265 (1994).

The Acting Director fundamentally denied Motorola that opportunity.

III. Mandamus Relief Is Appropriate Given the Nature of the
     USPTO’s Related Statutory and Constitutional Violations.

     Not only does Motorola have a clear and indisputable right to

relief that it has no other avenue to obtain, but mandamus relief is

“appropriate” for two reasons previously recognized by both this Court

and the Supreme Court. First, by issuing and rescinding “binding

agency guidance” arbitrarily, the USPTO has unfairly subjected IPR

petitioners targeted by parallel litigation to ever changing rules—at

great expense to petitioners exercising their rights to challenge patents



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under a procedure Congress designed to promote efficiency in the

patent system. That amounts to the type of “shenanigans” that the

Supreme Court has cautioned should not evade review. Cuozzo, 579

U.S. at 275. Second, while the Court can avoid a constitutional issue if

it grants relief on APA grounds, this Court has expressly acknowledged

that mandamus review is “appropriate” where a “constitutional

challenge” has been presented. See Palo Alto Networks, 44 F.4th at

1374. Mandamus is appropriate to ensure that the USPTO’s violation

of statutory and constitutional rights does not go unremedied.

     “Congress designed the America Invents Act (AIA) post-grant

proceedings ‘to establish a more efficient and streamlined patent system

that will improve patent quality and limit unnecessary and

counterproductive litigation costs.’” Appx99 (quoting H.R. Rep. No.

112-98, pt. 1, at 40 (2011), 2011 U.S.C.C.A.N. 67, 69, and citing S. Rep.

No. 110-259, at 20 (2008)). The actions challenged here do the opposite.

By failing to adopt regulations to govern “the relationship of [inter

partes] review to other proceedings,” 35 U.S.C. § 316(a)(4), and instead

relying on “binding” rules that the Acting Director claims she may

unilaterally change at will, the USPTO has undermined the efficiency of




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the patent system and created unnecessary and counterproductive

litigation costs. And applying those changes retroactively to a narrow

band of petitioners in cases “in which the Board has not issued an

institution decision, or where a request for rehearing or Director Review

of an institution decision was filed and remains pending,” Appx111,

subjects those petitioners—including Motorola—to an injury that far

exceeds the generalized injury sustained by prospective petitioners.

     Moreover, the Rescission has the effect of putting IPR petitioners

facing parallel litigation in “rocket docket” courts between a rock and a

hard place. Here, for example, Motorola was sued for infringement of

eight different patents that collectively included 160 different patent

claims. The Eastern District of Texas has a practice of setting early

trial dates and refusing to stay litigation based on IPR proceedings

until review is granted. By the time Motorola could file IPR petitions

challenging all 160 claims of the 8 patents—Motorola’s one shot at

IPR—the litigation had naturally progressed in line with the early trial

date, despite the district court deciding no substantive motions by the

time of the Board’s institution decisions. Nonetheless, the Acting

Director relied on her misapprehension of the “advanced” state of the




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district-court proceedings to vacate the institution decisions and instead

discretionarily deny the petitions. Between the post-Rescission

USPTO’s rules and the Eastern District of Texas’s longstanding

practices, IPR petitioners facing parallel litigation in that district are

effectively being denied the IPR statutes’ protections.

     The circumstances are particularly extreme here. At the time

Motorola requested rehearing of the Acting Director’s decision in the

first set of IPRs, the district court had stayed the litigation, removed

the trial date from its calendar, and emphasized that “neither the

parties nor the Court can even begin to consider a trial date” before the

Court ruled on multiple pending motions—including a motion to amend

infringement contentions, two motions for summary judgment, and

multiple Daubert motions. Appx163. Thus, under the Acting Director’s

rationale, it does not even matter if trial is near. The district court’s

setting of an initial trial date before the deadline for a final written

decision is enough for the Board to discretionarily deny a petitioner the

benefits of the IPR statutes. Remedying the unjust consequences of the

USPTO’s actions as applied to Motorola—which had obtained

institution decisions on all eight of its meritorious IPR petitions before




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the Rescission—is an appropriate use of the Court’s mandamus

authority.

     Finally, the existence of both constitutional and non-constitutional

grounds for relief, all supported by Supreme Court precedent, makes

mandamus particularly appropriate. Challenges on “due process

grounds” are precisely the sort of constitutional arguments justifying

review of institution decisions notwithstanding § 314(d). Cuozzo, 579

U.S. at 275. Indeed Motorola’s constitutional argument would be

unreviewable “but for the possibility of mandamus.” Celgene, 931 F.3d

at 1357 n.11; cf. Elgin v. Dep’t of Treasury, 567 U.S. 1, 16 n.5 (2012)

(claim that an “agency ‘acted in an unconstitutional manner’ will

generally be a claim that the statute authorizing the agency action was

unconstitutionally applied,” which the agency cannot decide). Granting

mandamus based on Motorola’s APA arguments would permit the court

to avoid that constitutional issue. See Sec. People, Inc. v. Iancu, 971

F.3d 1355, 1361 n.3 (Fed. Cir. 2020) (“If the appellant succeeds on the

merits of its non-constitutional arguments, the constitutional question

may become moot.”). On the other hand, denying mandamus to avoid

reaching the constitutional issue presented here would subject the




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public to the unfair actions of the USPTO, ignore IPR petitioners’

reliance interests, and undermine Congress’s intent in enacting the IPR

statutes.

                               CONCLUSION

     The Court should grant Motorola’s petition and direct the USPTO

(1) to vacate its Rescission of the June 2022 Memo and (2) to reinstate

the Board’s institution of Motorola’s IPR petitions in accordance with

the June 2022 Memo.




 Dated: June 23, 2025                Respectfully submitted,

                                     /s/ Matthew J. Silveira
 Tharan Gregory Lanier               Matthew J. Silveira
 JONES DAY                           JONES DAY
 1755 Embarcadero Road               555 California Street, 26th Floor
 Palo Alto, CA 94303                 San Francisco, CA 9410451
 (650) 739-3941                      (415) 875-5715

 John R. Boulé III                   John A. Marlott
 JONES DAY                           JONES DAY
 555 South Flower Street,            110 North Wacker Drive,
 Fiftieth Floor                      Suite 4800
 Los Angeles, CA 90071               Chicago, IL 60606
 (213) 489-3939                      (312) 269-4236

               Counsel for Petitioner Motorola Solutions, Inc.




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                 CERTIFICATE OF COMPLIANCE

     The foregoing filing complies with the relevant type-volume and

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     Date: June 23, 2025          Signature: /s/ Matthew J. Silveira

                                  Name:       Matthew J. Silveira




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        I hereby certify that I electronically filed the foregoing with the

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on June 23, 2025, to lead counsel for Stellar, LLC at the following

address:

        Jason M. Shapiro
        DEVLIN LAW FIRM LLC
        1526 Gilpin Ave.
        Wilmington, DE 19806
        Telephone: (302) 449-9010
        jshapiro@devlinlawfirm.com

        I further certify that courtesy copies of this document were

emailed to the following additional counsel of record for Stellar, LLC, on

June 23, 2025:

        Timothy Devlin, tdevlin@devlinlawfirm.com
        Jim Lennon, jlennon@devlinlawfirm.com

        I further certify that this document was sent to efileSO@uspto.gov

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        Office of the Solicitor
        United States Patent and Trademark Office


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Mail Stop 8
P.O. Box 1450
Alexandria, Virginia 22313-1450

                            Respectfully submitted,

                            /s/ Matthew J. Silveira
                            Matthew J. Silveira




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